Case 2:20-cv-00283-JRG Document 76 Filed 06/21/21 Page 1 of 2 PageID #: 2074




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


JAPAN DISPLAY, INC., et al                     §
                                               §    CIVIL ACTION NO. 2:20- cv -00283 -JRG
                                               §    (Lead Case)
                                               §
v.                                                  CIVIL ACTION NO. 2:20-cv-00284-JRG
                                               §
                                                    (Member Case)
                                               §
                                               §    CIVIL ACTION NO. 2:20-cv-00285-JRG
TIANMA MICROELECTRONICS CO., LTD.              §    (Member Case)
                                               §

                           MOTION HEARING MINUTES
                  HELD BEFORE DISTRICT JUDGE RODNEY GILSTRAP
                                  June 21, 2021
OPEN:    03:31 PM                                       ADJOURN: 04:25 PM

ATTORNEYS FOR PLAINTIFFS:                          See attached

ATTORNEYS FOR DEFENDANT:                           See attached

LAW CLERK:                                         Will Nilsson

COURT REPORTER:                                    Susan Zielie, RMR, FCRR

COURTROOM DEPUTY:                                  Andrea Brunson

 TIME         MINUTES
 03:31 PM     Court opened. Counsel for the parties appeared and announced ready for hearing.
 03:33 PM     The Court acknowledged the parties’ meet and confer efforts. Progress and
              agreements of the parties were recited into the record.
 03:39 PM     Court heard argument re: Plaintiffs’ Motion to Compel Invalidity Contentions and
              Accompanying Technical and Sales Information, and to Strike Defendant’s
              Deficient Eligibility Contentions (Dkt. No. 49). Mr. Klein argued for the Plaintiffs.
 03:44 PM     Court heard responsive argument by Mr. Barney on behalf of the Defendant.
 03:54 PM     Court ruled as follows: (1) Tianma America to produce outstanding discovery items
              as requested; and (2) Tianma Japan ordered to produce a corporate representative
              to be deposed by Plaintiff re: these issues. The Court will revisit the discovery
              dispute following the deposition of the corporate representative.
 04:01 PM     Court heard argument re: Defendant’s Motion to Compel Plaintiffs to Produce
              Relevant Information in Plaintiffs’ Sole Possession (Dkt. No. 64).
 04:02 PM     Mr. Barney argued for the Defendant.
 04:08 PM     Mr. Klein provided responsive argument for the Plaintiffs.
Case 2:20-cv-00283-JRG Document 76 Filed 06/21/21 Page 2 of 2 PageID #: 2075




04:20 PM    Court ordered Plaintiffs to produce the requested documents to Defendant within
            ten (10) days. After the production of documents, the Court directs the parties to
            file a Joint Status Report within 21 days.
04:25 PM    Court adjourned.
